           Case 6:20-cv-01375-AA       Document 17              Filed 01/04/21   Page 1 of 3




Keith Ketterling, OSB No. 913368
Steven C. Berman, OSB No. 951769
Megan K. Houlihan, OSB No. 161273
STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
209 S.W. Oak Street, Suite 500
Portland, Oregon 97204
Telephone:    (503) 227-1600
Facsimile:    (503) 227-6840
Email:        kketterling@stollberne.com
              sberman@stollberne.com
              mhoulihan@stollberne.com

Special Assistant Attorneys General
for the State of Oregon




                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

                                      EUGENE DIVISION

 OREGON BANKERS ASSOCIATION,                              Case No. 6:20-cv-01375-AA
 LEWIS & CLARK BANK, BANK OF
 EASTERN OREGON, AND PEOPLE’S
 BANK OF COMMERCE,                                        UNOPPOSED MOTION TO NOTIFY
                                                          COURT OF SUPPLEMENTAL
           Plaintiffs,                                    AUTHORITY

                   v.

 STATE OF OREGON, ELLEN
 ROSENBLUM, in her official capacity as
 the Attorney General of the State of
 Oregon, and ANDREW STOLFI, in his
 official capacity as the Director of the
 Oregon Department of Consumer and
 Business Services,

           Defendants.




Page 1 -     UNOPPOSED MOTION TO NOTIFY COURT OF SUPPLEMENTAL
             AUTHORITY
                                 STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                         209 S.W. OAK STREET, SUITE 500
                                            PORTLAND, OREGON 97204
                                       TEL. (503) 227-1600 FAX (503) 227-6840
            Case 6:20-cv-01375-AA           Document 17              Filed 01/04/21   Page 2 of 3




                            MOTION AND LR 7-1(a) CERTIFICATION

          Defendants hereby move to notify the Court of the recent decision in Axos Bank v. Ellen

F. Rosenblum, Attorney General of the State of Oregon, Case No. 3:20-CV-01712-HZ, 2020 WL

7344594 (D. Or. Dec. 14, 2020) (attached as Exhibit A). Defendants provide this notice

pursuant to Federal Rule of Civil Procedure 15(a)(2) and (d) and Local Rule 7-1(e)(3). The

parties conferred pursuant to Local Rule 7-1, and Plaintiffs do not oppose the motion.

          Under Federal Rule of Civil Procedure 15, “[o]n motion and reasonable notice, the court

may, on just terms, permit a party to serve a supplemental pleading setting out any transaction,

occurrence, or event that happened after the date of the pleading to be supplemented.” Fed. R.

Civ. P. 15(d). Courts have construed this rule as providing a mechanism for parties to provide

courts with supplemental authority decided after the parties submitted briefing. See Nelson v.

Network Infrastructure Corp., 2010 WL 11515662, at *1 (D. Ariz. Mar. 30, 2010) (considering

supplemental authority under Federal Rule of Civil Procedure 15).

          At issue in Axos Bank was the constitutionality of the same statute at issue in this case,

House Bill 4204. 1 Defendants’ Motion to Dismiss (ECF 13) is pending before the Court and will
be heard on February 4, 2020. On December 14, 2020, after the parties’ briefing on Defendants’

pending motion before this Court had been completed, Judge Marco A. Hernández issued his

decision in Axos Bank. Defendants thus move to notify the Court of Judge Hernandez’s decision

in Axos Bank.

          Plaintiffs request the opportunity for supplemental briefing if the Court intends to

consider the Axos Bank decision or issues it discusses. Plaintiffs propose the following

supplemental briefing schedule: (a) Plaintiffs and Defendants each submit supplemental briefs,

limited to seven pages, by 5:00 p.m. on January 8, 2020; (b) Plaintiffs and Defendants each

submit replies to the supplemental briefs, limited to 5 pages, by 5:00 p.m. on January 15, 2020.


1
    House Bill 424 80th Leg., 1st Spec. Sess. (Or. 2020).
Page 2 -      UNOPPOSED MOTION TO NOTIFY COURT OF SUPPLEMENTAL
              AUTHORITY
                                      STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                              209 S.W. OAK STREET, SUITE 500
                                                 PORTLAND, OREGON 97204
                                            TEL. (503) 227-1600 FAX (503) 227-6840
            Case 6:20-cv-01375-AA       Document 17              Filed 01/04/21   Page 3 of 3




       Defendants submit that the Axos Bank decision speaks for itself, and that no supplemental

briefing is necessary before the February 4, 2020 hearing on Defendants’ pending motion.

However, if the Court determines that supplemental briefing is warranted, Defendants request

that any supplemental briefing is limited to three pages per side, submitted no later than January

15, 2020.


       DATED this 4th day of January, 2021.

                                      Respectfully submitted,


                                      STOLL STOLL BERNE LOKTING & SHLACHTER P.C.


                                      By: s/ Steven C. Berman
                                         Keith Ketterling, OSB No. 913368
                                         Steven C. Berman, OSB No. 951769
                                         Megan K. Houlihan, OSB No. 161273

                                      209 SW Oak Street, Suite 500
                                      Portland, OR 97204
                                      Telephone: (503) 227-1600
                                      Facsimile: (503) 227-6840
                                      Email:     kketterling@stollberne.com
                                                 sberman@stollberne.com
                                                 mhoulihan@stollberne.com


                                      Special Assistant Attorneys General for the State of Oregon




Page 3 -     UNOPPOSED MOTION TO NOTIFY COURT OF SUPPLEMENTAL
             AUTHORITY
                                  STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
                                          209 S.W. OAK STREET, SUITE 500
                                             PORTLAND, OREGON 97204
                                        TEL. (503) 227-1600 FAX (503) 227-6840
